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 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
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11   WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                DEFENDANTS NSO GROUP
                                                 TECHNOLOGIES LIMITED AND Q
13               Plaintiffs,                     CYBER TECHNOLOGIES LIMITED’S
                                                 SECOND ADMINISTRATIVE MOTION
14         v.                                    TO FILE UNDER SEAL
15   NSO GROUP TECHNOLOGIES LIMITED              Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,
16                                               Action Filed: 10/29/2019
                 Defendants.
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       DEFENDANTS’ ADMINISTRATIVE                                     Case No. 4:19-cv-07123-PJH
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 1            Pursuant to Civil Local Rules 7-11 and 79-5(d), Defendants NSO Group Technologies

 2 Limited and Q Cyber Technologies Limited (collectively, the “Defendants”), by and through their

 3 undersigned counsel, hereby submit this Administrative Motion to File Under Seal (the “Motion”)

 4 two exhibits supporting Defendants’ Motion to Exclude Certain Opinions of Dana Trexler,
                                     1
 5 CPA/CFF (the “Motion to Exclude”). An unredacted version of these exhibits (the “Sealed

 6   Documents”) are attached as Exhibits A and F to the Declaration of Aaron S. Craig (“Craig

 7   Declaration” or “Craig Decl.”) filed currently herewith. The Motion is based upon the points and

 8   authorities set forth herein, as well as those facts attested to in the accompanying Craig

 9   Declaration.

10   I.       LEGAL STANDARDS

11            Although courts recognize a general right to inspect and copy public records, “access to

12   judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

13   (9th Cir. 2006). The showing necessary to seal materials depends on how closely related those

14   materials are to the merits of the case. “A party seeking leave to file documents under seal in

15   conjunction with a non-dispositive motion” need only show “good cause exists to file the

16   information under seal.” Uniloc United States of Am., Inc. v. Apple Inc., No. 18-cv-00362-PJH,

17   2018 WL 2392561, at *3 (N.D. Cal. May 25, 2018) (Hamilton, J.). Under the “good cause”

18   standard, the relevant inquiry is “whether good cause exists to protect the information from being

19   disclosed to the public by balancing the needs for discovery against the need for confidentiality.”

20   Wells Fargo & Co. v. ABD Ins. & Fin. Servs., No. C 12-3856 PJH, 2013 WL 897914, at *1 (N.D.

21   Cal. Mar. 8, 2013) (Hamilton, J.).

22            Here, Defendants seek to file under seal materials that are not related to a dispositive

23   motion. Accordingly, the “good cause” standard applies to this Motion. “Good cause” requires

24   only “a particularized showing” that sealing is appropriate, which “will suffice to seal documents

25   produced in discovery.” Kamakana, 447 F.3d at 1180.

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       Concurrently herewith, Defendants are filing a separate Administrative Motion to Consider
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     Whether Another Party’s Material Should Be Sealed which addresses proposed sealing of certain
28   portions of the Motion to Exclude and Exhibits A, B, C, D and F thereto.
          DEFENDANTS’ ADMINISTRATIVE                    1                     Case No. 4:19-cv-07123-PJH
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 1   II.    LEGAL ARGUMENT

 2          As shown below, this Motion is supported by good cause. Accordingly, the Sealed

 3   Documents should be sealed.

 4          The Trexler Reports (Craig Decl. Exh. A, F). Plaintiffs designated the Trexler reports

 5   attached as Craig Decl. Exh. A and F as Highly Confidential—Attorney’s Eyes Only pursuant to

 6   the Stipulated Protective Order in this case (Dkt. No. 132). Ms. Trexler’s reports contain

 7   discussion of confidential and competitively sensitive documents and information produced by

 8   both parties. See Craig Decl. ¶ 4. Ms. Trexler’s reports include confidential information about the

 9   compensation of Plaintiffs’ employees, which led Plaintiffs to designate the reports as Highly

10   Confidential—Attorneys’ Eyes Only.         They also include confidential information about

11   Defendants’ contracts with their customers and Defendants’ internal financial information. All of

12   these factors warrant sealing of this documents. See, e.g., Icon-IP Pty Ltd. v. Specialized Bicycle

13   Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015) (“pricing, profit, and customer

14   usage information, when kept confidential by a company, is appropriately sealable under the

15   ‘compelling reasons’ standard where that information could be used to the company’s competitive

16   disadvantage”); Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co., 2019 WL 11638962, at

17   *1 (D. Nev. June 20, 2019) (finding “[c]ompelling reasons justifying sealing court records

18   generally exist” when such files contain “business information that might harm a litigant’s

19   competitive standing.”); In re Sony Gaming Networks & Customer Data Sec. Breach Litig., 2015

20   WL 13653885, at *1 (S.D. Cal. Jan. 20, 2015) (granting motion to file under seal where “harm

21 could result to Defendants’ business operations” if the information were disclosed); In re

22   Qualcomm Litig., 2017 WL 5176922, at *2 (S.D. Cal. Nov. 8, 2017) (concluding that the parties

23   established compelling reasons to file under seal records that implicate “confidential business

24 information” subject to confidentiality agreements).

25 III.     CONCLUSION

26          For the reasons set forth above and in the accompanying Craig Declaration, good cause

27 exists to seal the Sealed Documents, and Defendants respectfully request that the Court grant this

28 Motion and order the Sealed Documents to be kept under seal.
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 1   DATED: January 9, 2025                  KING & SPALDING LLP
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       DEFENDANTS’ ADMINISTRATIVE            3                      Case No. 4:19-cv-07123-PJH
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